Case 1:13-cv-02469-RM-MJW Document 39 Filed 03/21/14 USDC Colorado Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Civil Action No. 13-cv-02469-RM-MJW

  RANDALL J. HATLEE and
  RONALD L. SWIFT,

  Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGNER, and
  ASHLEIGH OLDS,

  Defendants.

                                     MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

        It is hereby ORDERED that plaintiffs’ Unopposed Motion to Modify Scheduling
  Order (Docket No. 37) is GRANTED. The Scheduling Order (Docket No. 34) is
  amended as follows:

          Designate experts: June 2, 2014;
          Designate rebuttal experts: July 1, 2014;
          Discovery cutoff: August 29, 2014;
          Dispositive motion deadline: September 30, 2014.

        It is FURTHER ORDERED that the Final Pretrial Conference set for October 1,
  2014 at 9:00 a.m. is VACATED. The Final Pretrial Conference is RESET for November
  25, 2014 at 10:00 a.m. The proposed pretrial order shall be filed on or before
  November 18, 2014.

  Date: March 21, 2014
